












Dismissed and Memorandum Opinion filed June 3, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00703-CR

____________

&nbsp;

MARCUS CARRERA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 262nd District Court

Harris County, Texas

Trial Court Cause No. 1194231

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a plea of guilty to aggravated assault. &nbsp;Appellant
and the State agreed that appellant’s punishment would not exceed confinement
in prison for more than twenty years. &nbsp;In accordance with the terms of this
agreement with the State, the trial court sentenced appellant on August 12,
2009, to confinement for eighteen years in the Institutional Division of the
Texas Department of Criminal Justice. &nbsp;Appellant filed a timely, written notice
of appeal. &nbsp;We dismiss the appeal.&nbsp; 

Although the trial court mistakenly entered a certification
of the defendant’s right to appeal in which the court certified that this is
not a plea bargain case and the defendant has the right of appeal, we have no
jurisdiction over the appeal. &nbsp;See Tex. R. App. P. 25.2(a)(2). &nbsp;An agreement that places a cap on punishment is
a plea bargain for purposes of Texas Rule of Appellate Procedure 25.2(a)(2). &nbsp;Waters
v. State, 124 S.W.3d 825, 826–27 (Tex. App.—Houston [14th Dist.] 2003, pet.
ref=d) (holding reviewing court lacked
jurisdiction where defendant pled guilty with a sentencing cap of ten years,
even though trial judge mistakenly certified defendant had right of appeal); Threadgill
v. State, 120 S.W.3d 871, 872 (Tex. App.—Houston [1st Dist.] 2003, no.
pet.) (holding statement in record indicating that there was no agreed
recommendation did not convert proceeding into an open plea where plea was
entered pursuant to agreed sentencing cap); see also Shankle v. State,
119 S.W.3d 808, 813 (Tex. Crim. App. 2003) (stating sentence-bargaining may be
for recommendations to the court on sentences, including a recommended “cap” on
sentencing). 

Because appellant’s plea was made pursuant to a plea bargain,
he may appeal only pre-trial rulings on matters raised by written motion or
with the trial court’s permission. &nbsp;See Tex. R. App. P. 25.2(a)(2). &nbsp;Our record contains no
adverse rulings on pre-trial motions.&nbsp; The trial court’s erroneous
certification that the case is not a plea bargain case does not constitute
permission to appeal. &nbsp;See Waters, 124 S.W.3d at 826–27.

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Boyce.

Do Not Publish — Tex. R. App. P. 47.2(b).





